              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                                      SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
                         Plaintiff,                 )
                                                    )
        vs.                                         )      No. 06-03011-04-CR-S-DW
                                                    )
CHRIS KEN BROWN,                                    )
                                                    )
                         Defendant.                 )


                        ACCEPTANCE OF PLEA OF GUILTY AND
                             ADJUDICATION OF GUILT


        Pursuant to the Report and Recommendation of the United States Magistrate Judge, to which

there has been no timely objection, the plea of guilty of the Defendant to Counts One and Twelve

of the Superseding Indictment filed on March 9, 2006, are now Accepted and the Defendant is

Adjudged Guilty of such offenses. Sentencing will be set by subsequent Order of the Court.




                                                       /s/ Dean Whipple
                                                         DEAN WHIPPLE, CHIEF
                                                    UNITED STATES DISTRICT JUDGE




Date:    January 9, 2007




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